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                                                       May 8, 2024


  VIA ECF AND EMAIL

  The Honorable LaShann DeArcy Hall
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201


                 Re:    United States v. Marcus Ricketts, et al.,
                        Case No. 22-CR-106 (LDH)


  Dear Judge DeArcy Hall:

          We represent Jonathan Goulbourne in the above-referenced matter. We are in
  receipt of the Court’s order adjourning the evidentiary hearing concerning Mr.
  Goulbourne’s treatment at the MDC until May 23, 2024, at the government’s request.
  We write to respectfully request that in light of the serious questions raised concerning
  Mr. Goulbourne’s SHU ticket, the Court direct the MDC to transfer him from the SHU to
  general population for the duration of the adjournment. We have inquired as to the
  government’s position on this request but have yet to receive a response.

          As the Court noted at the May 1, 2024 hearing, the incident report pursuant to
  which Mr. Goulbourne was placed in the SHU was altered once the undersigned raised
  concerns about Mr. Goulbourne’s medication and placement in the SHU. Tr. of May 1,
  2024 Hr’g 50-51. At the hearing, MDC counsel Sophia Papapetru stated that the incident
  report was changed because the reviewing officer, Lieutenant Ferguson, determined that
  it was facially insufficient. Id. at 51-52. (Notably, that is a different explanation than
  what Ms. Papapetru provided to the government by email dated April 30, 2024, in which
  she stated that the report was rewritten due to “a clerical/admin error” and that there was
  no original version of the report. We also have since received a more fulsome copy of
  the amended report than what Mr. Goulbourne received, and it contains additional
  inaccuracies.) Based on its review of the two reports, the Court ordered Lieutenant
  Ferguson to testify at the evidentiary hearing. The government then sought an
  adjournment, and based on the reasons it articulated in its request, we did not object.

          In the meantime, however, Mr. Goulbourne remains in the SHU, and we learned
  from speaking to him today that he has not been given a seven-day disciplinary review
  hearing, as required by BOP Program Statement 5270.12 § 541.26 (“Within seven
  continuous calendar days of your placement in either administrative detention or
  disciplinary segregation status, the SRO will formally review your status at a hearing you
  can attend.”). The MDC is therefore failing to follow its own review policies as to Mr.
                90 Broad Street | 23rd Floor | New York, NY 10004
           www.shertremonte.com | tel. 212.202.2600 | fax. 212.202.4156
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  Goulbourne, even assuming that there was a legitimate, non-retaliatory basis for placing
  him in the SHU in the first place.

          Given that SHU placement brings with it serious deprivations, including of
  contact with family, we respectfully request that the Court direct the MDC to release Mr.
  Goulbourne from the SHU and return him to general population, at a minimum until the
  issues with the conflicting incident reports can be resolved at the evidentiary hearing.

                                               Respectfully submitted,

                                               /s/ Noam Biale
                                               Noam Biale
                                               Martin Njoroge

                                               Attorneys for Jonathan Goulbourne


  cc:    All counsel (by ECF)




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